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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


CAMPAIGN LEGAL CENTER,

      Plaintiff,
                                      Case No. 1:20-cv-00809-ABJ
v.
                                      (Assigned to Hon. Amy Berman Jackson)
FEDERAL ELECTION COMMISSION,

      Defendant.


                           BRIEF AMICUS CURIAE
                                  OF THE
                      NEW CIVIL LIBERTIES ALLIANCE
                      IN SUPPORT OF NEITHER PARTY
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                         CORPORATE DISCLOSURE STATEMENT
                                            AND
                     L. CIV. R. 7(o)(5) & FRAP 29(a)(4)(E) STATEMENT
       The New Civil Liberties Alliance is a 501(c)(3) nonprofit organization organized under the

laws of the District of Columbia. It has no parent corporation and no publicly held corporation owns

ten percent or more of its stock.

       No counsel for a party authored any part of this brief. No one other than amicus curiae, its

members, or its counsel financed the preparation or submission of this brief.




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                                INTEREST OF AMICUS CURIAE

        The New Civil Liberties Alliance (NCLA) is a nonpartisan, nonprofit civil rights organization

and public-interest law firm. Professor Philip Hamburger founded NCLA to challenge multiple con-

stitutional defects in the modern administrative state through original litigation, amicus curiae briefs,

and other advocacy.

        The “civil liberties” of the organization’s name include rights at least as old as the U.S. Con-

stitution itself, such as the due process of law, jury trial, and the right to live under laws made by the

nation’s elected lawmakers through constitutionally prescribed channels. Yet these selfsame rights are

also very contemporary—and in dire need of renewed vindication—precisely because Congress, fed-

eral administrative agencies like the Federal Election Commission (FEC), and even courts have ne-

glected them for so long.

        NCLA aims to defend civil liberties—primarily by asserting constitutional constraints on the

modern administrative state. Although Americans still enjoy the shell of their Republic, a very different

sort of government has developed within it—a type, in fact, that the Constitution was designed to

prevent. This unconstitutional state within the Constitution’s United States is the focus of NCLA’s

concern.

        In this instance, NCLA is particularly disturbed by the near-certain entry of default judgment

against FEC. Entry of a Rule 55 default judgment under the Federal Rules of Civil Procedure is prob-
lematic on multiple levels in cases such as this one. Amicus respectfully urges the Court to not create

a quagmire by entering a default judgment in a case where the plaintiff lacks Article III standing, the

defendant lacks the four votes necessary to even defend itself in time, and where the plaintiff is asking

the Court to decide a political question in an advisory opinion. The issue of the unconstitutional trans-

fer, at the behest of private parties, of political and prosecutorial discretion from the Executive Branch

to the federal courts is of the highest importance because it threatens the independence and legitimacy

of the federal judiciary. It also interferes with the President’s constitutional duty to “take Care that the

Laws be faithfully executed.” U.S. CONST. art. II, § 3.



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       Americans enjoy the freedom to elect the person in whom the Constitution vests the executive

power, and the Constitution thereby makes the exercise of executive power accountable to the people.

But agencies like FEC will remain independent of the President’s control until the Supreme Court

revisits Humphrey’s Executor, 295 U.S. 602 (1935). However, a federal-court plaintiff that in essence

asks this Court to decide whether FEC has failed to take care that the laws are faithfully executed

needs to sue the President. By suing FEC—and not the President—the federal-court plaintiff should

not be permitted to transfer the President’s Article II take-care obligation to an Article III judge.

Permitting a non-responsive FEC to divest the President of executive power would make independent

agencies even more constitutionally suspect than they already are.

       NCLA is opposed to the abuse of power by independent agencies like FEC, and to prior

licensing of speech. But it also opposes CLC’s attempt to get this Court to do the work of an inde-

pendent agency simply because, until May 19, 2020, the agency lacked a quorum and the political

branches of government were unable or unwilling to fill FEC vacancies since September 2019.

       CLC urges this Court to take sweeping action—to take control of a federal agency’s inherent

and exclusive prosecutorial discretion, ignore the President’s power of appointment, and the Senate’s

power to advise and consent to executive nominations. While the latter deficiencies are now apparently

cured because a quorum has been (or soon will be) restored, this Court still lacks the constitutional as

well as the statutory authority to enter any judgment other than dismissing the case without prejudice.
CLC’s case against FEC will remain not justiciable.




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                                  STATEMENT OF THE CASE

        The Federal Election Campaign Act (FECA), as relevant here, sets out an enforcement

scheme. “Any person who believes a violation of [FECA] … has occurred … may file a complaint

with the Commission.” 52 U.S.C. § 30109(a)(1).1 FEC, after notice and opportunity to respond to the

administrative complaint, votes as to whether FEC “has reason to believe” that the respondent vio-

lated FECA (§ 30109(a)(2)). Four commissioners must vote in the affirmative for FEC to exercise

prosecutorial discretion and commence investigation of the administrative complaint. Id. Without four

votes, FEC must dismiss the complaint; if it does so, the complainant may then “file a petition” with

this Court within 60 days of dismissal (§ 30109(a)(8)(A)–(B)).

        FEC can also, as here, “fai[l] … to act on [the] complaint” (§ 30109(a)(8)(A)). The statute,

purportedly, also allows the administrative complainant to “file a petition” with this Court if FEC fails

to act within 120 days of the administrative-complaint-filing date. Id.

        This case arises out of a failure-to-act—as opposed to a dismissal-of-administrative-com-

plaint—scenario. Plaintiff, in its federal complaint, alleges that FEC has taken no action on its admin-

istrative complaint against 45Committee, Inc. and that the administrative complaint has been pending

for over “575 days.” Complaint, Campaign Legal Center v. FEC, No. 1:20-cv-00819-ABJ (D.D.C. Mar.

24, 2020), ECF No. 1, at ¶ 32 (“Compl.”). Its sole cause of action alleges that FEC’s “failure to act”

on Plaintiff Campaign Legal Center’s (CLC) administrative complaint “is contrary to law”
(§ 30109(a)(8)(A)). Id. at ¶ 34. CLC asks this Court to order FEC to process CLC’s administrative

complaint against 45Committee, Inc. Id. at 14–15.

        FEC must have four affirmative votes to defend such civil actions brought against it

(§§ 30106(c), 30107(a)(6), 30109(a)(8)(C)). In such suits, this Court may only “declare that … the fail-

ure to act is contrary to law, and may direct the Commission to conform with such declaration within

30 days” (§ 30109(a)(8)(C)).




1
        Unless otherwise noted, all sections are codified in Title 52, United States Code.
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        FEC is made up of six commissioners, appointed by the President, by and with the advice and

consent of the Senate (§ 30106(a)(1)). From September 2019 to May 19, 2020, FEC was composed of

only three commissioners. FEC Leadership and Structure, FEC, https://www.fec.gov/about/leadership-

and-structure/ (last visited May 20, 2020). FEC, therefore, having three vacancies, was practically in-

capable of obtaining four votes to either act on CLC’s administrative complaint (§ 30109(a)(2)), or to

defend this suit (§§ 30106(c), 30107(a)(6), 30109(a)(8)(C)).2

        CLC, by operation of the two-suit mechanism of Section 30109(a)(8), currently cannot sue the

real party in interest—45Committee, Inc.—which was the administrative respondent before FEC.

45Committee, Inc., therefore, is not a named defendant in this case. And because FEC, as of this

filing, has not obtained the four votes necessary to defend against CLC, it cannot appear before this

Court. By normal operation of Federal Rules of Civil Procedure (FRCP), if the Defendant fails to file

a responsive pleading answering or contesting CLC’s complaint, CLC is expected to seek entry of

default judgment under FRCP 55.3 The practical effect of either granting CLC’s request for entry of

default judgment or ruling on the merits of CLC’s cause of action under § 30109(a)(8)(A) would be to

order FEC to investigate CLC’s administrative complaint against 45Committee, Inc.—and thereby

disregard FEC’s inherent and exclusive prosecutorial discretion to make that determination.



2
         On May 19, 2020, the Senate confirmed James E. Trainor III as a fourth FEC commissioner.
PN1600, Nomination of James E. Trainor III for Federal Election Commission, 116th Congress,
https://www.congress.gov/nomination/116th-congress/1600 (last visited May 20, 2020). The now
four-member FEC might still not vote unanimously to defend this suit. See, e.g., Campaign Legal Center
v. FEC, 334 F.R.D. 1, 4 (D.D.C. 2019) (the vote required to defend itself was split “3–1”).
3
         Campaign Legal Center has done so in at least one other pending case in this district. Cf.
Affidavit for Default, Campaign Legal Center v. FEC, No. 1:20-cv-00588-BAH (May 5, 2020), ECF No.
10; Clerk’s Entry of Default, Campaign Legal Center v. FEC, No. 1:20-cv-00588-BAH (May 6, 2020),
ECF No. 11; Motion for Default Judgment, Campaign Legal Center v. FEC, No. 1:20-cv-00588 (May 14,
2020), ECF No. 12. At least one other group has similarly succeeded in obtaining a default judgment
against FEC in at least one case. See Order Granting Plaintiff’s Motion for Default Judgment, Citizens
for Responsibility & Ethics in Washington v. FEC, No. 1:19-cv-02753-RCL (D.D.C. Apr. 9, 2020), ECF
No. 9. When Judge Lamberth issued default judgment last month, he faced a very different set of
circumstances from those in this case. Mr. Trainor had not been confirmed to FEC. It was unclear
when FEC would again have a quorum. And Judge Lamberth did not have the benefit of the presen-
tation of the important constitutional and jurisdictional arguments that amicus presents here.
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                                               ARGUMENT

I.      CLC LACKS ARTICLE III STANDING

        The Plaintiff lacks Article III standing. This Court has the obligation sua sponte to determine

whether the Plaintiff has standing before entering judgment. Neither the citizen-complainant provi-

sion of Section 30109(a)(1) nor the purported citizen-suit provision of Section 30109(a)(8)(A) confers

standing on CLC. CLC has not alleged any facts demonstrating it has Article III standing. Such an

inquiry can neither be assumed nor waived or suspended.

        A.       This Court Has the Obligation to Determine Whether the Plaintiff Has Stand-
                 ing, Sue Sponte if Necessary
        Every federal court has an independent obligation to “satisfy itself” that it has jurisdiction

“even though the parties are prepared to concede it.” Bender v. Williamsport Area Sch. Dist., 475 U.S.

534, 541 (1986). The Court is obligated to operate under “the absolute purity of the rule that Article

III jurisdiction is always an antecedent question.” Steel Co. v. Citizens for a Better Environment, 523 U.S.

83, 101 (1998). Under Article III, there can be no such thing as “hypothetical jurisdiction” or a “hy-

pothetical judgment” via which federal courts order the relief (a Rule 55 default judgment or other-

wise) the Plaintiff seeks without resolving the question of Article III standing. Id. Such a judgment is

“the same thing as an advisory opinion.” Id. The Article III question is not one of “legal niceties,”

because “statutory and (especially) constitutional elements of jurisdiction are an essential ingredient of
separation and equilibrium of powers, restraining the courts from acting at certain times, and even

restraining them from acting permanently regarding certain subjects.” Id. “[I]f there is no jurisdiction

there is no authority to sit in judgment of anything else.” Vermont Agency of Natural Resources v. United

States ex rel. Stevens, 529 U.S. 765, 778 (2000).

        This Court has “an obligation to determine, sua sponte, its jurisdiction.” Jin v. Ministry of State

Security, 557 F. Supp. 2d 131, 138 (D.D.C. 2008). In this unique situation, it is all the more important

for the Court to determine whether CLC has Article III standing. Otherwise, there is a real danger

that strategic plaintiffs will take advantage of an unable-to-defend-itself federal agency—unable be-

cause of vacancies and by operation of quorum rules. The tactic of filing such opportunistic lawsuits—

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resulting in default judgments and the possibility of reaping windfall attorneys’ fees for purportedly

“prevailing”—is a dangerous one that raises serious constitutional concerns and invites unnecessary

litigation. Even if FEC votes in time to defend itself, it is unknown whether it will question CLC’s

standing. The Court still would retain the obligation to satisfy itself that the plaintiff has standing and,

therefore, that the Court has subject-matter jurisdiction. Furthermore, this situation is easily capable

of arising again, and it would serve the interests of justice for the Court to decide now whether a

plaintiff in CLC’s shoes has standing to proceed when FEC lacks a quorum.

        In Jin, as here, the amicus’s brief was the only filing that had suggested that the court lacked

jurisdiction. The court not only granted amicus leave to file the brief, but gave the parties an opportunity

to substantively respond, after which it ultimately adopted the amicus’s position. Id. at 138 (referring to

the court’s earlier decision in the same case in Jin v. Ministry of State Security, 475 F. Supp. 2d 54, 57 n.2

(D.D.C. 2007)). The Court will fulfill its Article III obligation by following the same course of action

here.

        B.       FECA Sections 30109(a)(1) and 30109(a)(8)(A) Only Confer the Right to Sue on
                 a Party that Otherwise Already Has Standing
        Common Cause v. FEC is on point. 108 F.3d 413 (D.C. Cir. 1997). In Common Cause, the plaintiff

had argued that the citizen-complainant provision of Section 30109(a)(1) and the citizen-suit provision

of Section 30109(a)(8)(A) “confers on ‘any person’ who believes that FECA has been violated, a right
to seek judicial review in federal court.” Common Cause, 108 F.3d at 419. The D.C. Circuit rejected that

argument. It concluded that FECA:

                 does not confer standing; it confers a right to sue upon parties who
                 otherwise already have standing. As in Lujan, absent the ability to
                 demonstrate a ‘discrete injury’ flowing from the alleged violation of
                 FECA, Common Cause cannot establish standing merely by asserting
                 that the FEC failed to process its complaint in accordance with law.
                 To hold otherwise would be to recognize a justiciable interest in having
                 the Executive Branch act in a lawful manner. This, the Supreme Court
                 held in Lujan, is not a legally cognizable interest for purposes of stand-
                 ing.

Id. at 419 (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 573 (1992)).


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        The Common Cause court engaged in the full Lujan Article III standing inquiry to decide whether

the plaintiff had standing to bring suit. The court concluded that the plaintiff had “failed to demon-

strate that it has suffered a legally cognizable injury as a result of” FEC’s action or inaction and, there-

fore, dismissed the case. Id. So too here.

        To establish standing, CLC must prove it has “suffered an [(1)] injury in fact—an invasion of

a legally protected interest which is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical, [(2) which is] fairly traceable to the challenged action, [and (3)] likely will

be redressed by a favorable decision.” Lujan, 504 U.S. at 560–61 (cleaned up). In situations, as here,

where a plaintiff’s asserted injury arises from “the government’s allegedly unlawful regulation (or lack

of regulation) of someone else,” it is more difficult for CLC to meet the injury-in-fact requirement, “for

in such cases one or more of the essential elements of standing depends on the unfettered choices

made by independent actors not before the courts and whose exercise of broad and legitimate discre-

tion the courts cannot presume either to control or to predict.” Common Cause, 108 F.3d at 417 (cleaned

up). A “deficiency on any one of the three prongs suffices to defeat standing.” U.S. Ecology, Inc. v. U.S.

Dep’t of Interior, 231 F.3d 20, 24 (D.C. Cir. 2000).

        It appears—although it is hard to tell from the allegations contained in CLC’s complaint—

that CLC is relying on FECA’s statutory scheme as proof that it has Article III standing. That theory

was tried—and rejected—in Common Cause. Under that theory, FECA provides that “[a]ny person”
who believes that a violation of the Act has occurred “may file a complaint with the Commission”

(§ 30109(a)(1)). Thereafter, “[a]ny party aggrieved by an order of the Commission dismissing a com-

plaint filed by such party … or by a failure of the Commission to act on such complaint” may seek

judicial review in this Court, which may declare the dismissal or failure to act to be “contrary to law”

(§§ 30109(a)(8)(A), 30109(a)(8)(C)). Common Cause had argued that “these provisions embody ‘a

statutory promise to the complainant that the FEC will act on a complaint in a reasonable period of

time and will do so in a manner not contrary to law.’” 108 F.3d at 418 (cleaned up). It argued, when

FEC violates the complainant’s “right to a prompt and lawful resolution of the complaint, the



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Commission ‘deprives the complainant of a statutorily promised benefit that is personal to the com-

plainant.’” Id. The D.C. Circuit rejected Common Cause’s theory of standing outright.

        Indeed, the Supreme Court has rejected the theory that a plaintiff can bootstrap Article III

standing by holding on to statutory galoshes. Common Cause’s injury, the D.C. Circuit said, “parallels

the ‘procedural injury’ the Supreme Court held insufficient in Lujan.” Id. (cleaned up). The citizen-suit

provision that Lujan evaluated provided that “any person [could] commence a civil suit on his own

behalf … to enjoin any person, including the United States and any other governmental … agency …

who is alleged to be in violation of any provision of this chapter.” 16 U.S.C. § 1540(g). Lujan concluded

that this provision could not satisfy Article III’s injury-in-fact requirement in cases where an individual

was otherwise unable “to allege any discrete injury flowing from” the alleged violation of the relevant

statute. 504 U.S. at 572.

        Nor can CLC assert injury-in-fact merely by alleging that “a violation of the law has occurred.”

Common Cause, 108 F.3d at 418; see generally Compl. (alleging that 45Committee, Inc. violated FECA by

failing to register as a political committee and failing to file reports disclosing its contributors, expend-

itures, or debts and obligations). That would be “tantamount to recognizing a justiciable interest in

the enforcement of the law”—something the Court cannot do. Common Cause, 108 F.3d at 418. “Con-

gress cannot, consistent with Article III, create standing by conferring ‘upon all persons … an abstract,

self-contained, noninstrumental ‘right’ to have the Executive observe the procedures required by
law.’” Id. (quoting Lujan, 504 U.S. at 573) (emphasis in original).

        CLC could, conceivably, present an informational-standing argument. See, e.g., FEC v. Akins,

524 U.S. 11 (1998). That argument, however, is too hypothetical, conjectural, and speculative to confer

Article III standing on CLC. In an Akins-style standing argument, “the nature of the information

allegedly withheld is critical to the standing analysis.” Common Cause, 108 F.3d at 417. With respect to

a FECA claim, an injury is deemed sufficiently concrete only if the disclosure sought “is related to

[CLC’s] informed participation in the political process.” Nader v. FEC, 725 F.3d 226, 230 (D.C. Cir.

2013). A plaintiff does not suffer an adequate informational injury if its demand is for FEC to “‘get

the bad guys,’ rather than disclose information.” Common Cause, 108 F.3d at 418. See also Free Speech for

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People v. FEC, __ F. Supp. 3d __, 2020 WL 999205 (D.D.C. Mar. 2, 2020) (informational injury is not

sufficient to establish standing); Wertheimer v. FEC, 268 F.3d 1070, 1074–75 (D.C. Cir. 2001) (plaintiff

lacked standing because it did “not really seek additional facts but only the legal determination that

certain transactions constitute coordinated expenditures”).

        Common Cause, and other cases applying it and Lujan, have firmly rejected the argument that

FECA’s statutory scheme confers Article III standing to bring Section 30109(a)(8)(A) suits. 108 F.3d

at 418–19. Amicus simply urges this Court to follow that direct, binding, appellate precedent. CLC has

not alleged a single fact in its complaint to demonstrate that it has Article III standing. A bare assertion

of an interest in ensuring that federal law is not violated does not suffice. See also Citizens for Responsibility

& Ethics in Washington v. FEC, 799 F. Supp. 2d 78, 85 (D.D.C. 2011) (“Having the right to file an

administrative complaint with the FEC does not necessarily give Plaintiffs standing to seek judicial

review of the disposition of that complaint in this Court.”); Judicial Watch, Inc. v. FEC, 180 F.3d 277

(D.C. Cir. 1999) (stating that plaintiff’s “standing to sue … must be based upon an injury stemming

from” FEC’s action or inaction (emphasis added)).

        When a plaintiff lacks standing, the appropriate action for the court to take is to dismiss the

case for lack of subject-matter jurisdiction. Steel Co., 523 U.S. at 92–93. That is what the Court should

do here.

II.     FRCP 55 DOES NOT ABSOLVE THE COURT                        OF   ITS OBLIGATION        TO   DETERMINE
        WHETHER THE PLAINTIFF HAS STANDING
        Granting or denying a motion for default judgment is a matter within the court’s discretion.

Int’l Painters & Allied Trades Industry Pension Fund v. Auxier Drywall, LLC, 531 F. Supp. 2d 56, 57 (D.D.C.

2008) (citing Jackson v. Beech, 636 F.2d 831, 836 (D.C. Cir. 1980)); Pulliam v. Pulliam, 478 F.2d 935, 936

(D.C. Cir. 1973) (same). FRCP 55 contains a strong presumption disfavoring default judgments against

federal agencies like FEC. See FRCP 55(d) (“A default judgment may be entered against the United

States, its officers or its agencies only if the claimant establishes a claim or right to relief by evidence

that satisfies the court.” (emphasis added)).



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        In addition, major treatises on federal practice and procedure, as well as several circuits, have

set forth factors that district courts should consider before deciding whether to enter default judg-

ments under FRCP 55. See 10A Wright & Miller, Federal Practice & Procedure § 2685 (4th ed. 2020)

(giving eight non-exhaustive factors); 6 James Wm. Moore, et al., Moore’s Federal Practice § 55-

20[2][b] (3d ed. 1999) (giving seven non-exhaustive factors); Hill v. Williamsport Police Dept., 69 Fed.

Appx. 49, 51–52 (3d Cir. 2003) (giving three factors; quoting Chamberlain v. Giampapa, 210 F.3d 154,

164 (3d Cir. 2000)); Russell v. City of Farmington Hills, 34 Fed. Appx. 196, 198 (6th Cir. 2002) (giving

seven factors); Eitel v. McCool, 782 F.2d 1470, 1471–72 (9th Cir. 1986) (giving seven non-exhaustive

factors; citing Moore’s Federal Practice, supra). To amicus’s knowledge, there is no D.C. Circuit case on

point. However, amicus assumes this Court would be skeptical of departing from the established rule

in every circuit that has decided this question at the appellate level. At bottom, of the several factors

these cases discuss, one factor is salient above all others: whether the plaintiff has Article III standing.

        When asked to enter default judgments, federal courts across the country routinely have first

assured themselves that the plaintiff has Article III standing, and if such standing is lacking, have

declined to enter default judgments for want of subject-matter jurisdiction. See, e.g., U.S. Bank v. IRS,

No. 12-cv-78-M-DWM, 2013 WL 788079, at *3 (D. Mont. Mar. 1, 2013); Freemyer v. Kyrene Village II,

LLC, No. 10-cv-1506-PHX-GMS, 2011 WL 42681, at *3–4 (D. Ariz. Jan. 6, 2011); Berthiaume v. Dore-

mus, 998 F. Supp. 2d 465, 470–474 (W.D. Va. 2014); Diaz v. Green Tree Servicing, LLC, No. C15-359RSL,
2015 WL 3451278, at *3–10 (W.D. Wash. May 29, 2015).

        This Court should follow the rule of decision given in these and other cases collected in the

aforementioned treatises and decline to enter default against FEC. Not performing this default-judg-

ment analysis would raise serious constitutional concerns regarding the legitimacy of federal-court

judgments. Federal courts have no power to waive, suspend, or absolve the claimant or itself from

ensuring, that the Article III case-or-controversy requirement is met in each case. Otherwise, the Court

would be using a rule of civil procedure to override the Constitution’s Article III.

        A plaintiff’s obligation to meet Article III’s case-or-controversy test is an immovable feature

of our constitutional structure. It is a “bedrock requirement” and an “irreducible minimum” without

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which courts have no power other than to dismiss cases for lack of subject-matter jurisdiction. Valley

Forge Christian Coll. v. Americans United for Separation of Church & State, Inc., 454 U.S. 471, 472 (1982). See

also Summers v. Earth Island Inst., 555 U.S. 488, 492–93 (2009) (the case-or-controversy requirement is

a “fundamental limitation” and “is founded in concern about the proper—and properly limited—role

of courts in a democratic society” (cleaned up)). Article III standing is a “jurisdictional requirement

that cannot be waived by the parties.” Cherry v. FCC, 641 F.3d 494, 497 (D.C. Cir. 2011). Federal courts

must analyze whether the plaintiff has standing even where, as here, adversarial presentation on the

question by the defendant is lacking—because standing cannot be “waived or conceded.” Animal Legal

Defense Fund, Inc. v. Espy, 29 F.3d 720, 723 n.2 (D.C. Cir. 1994).

III.    CLC’S CLAIMED INJURY IS NOT CONSTITUTIONALLY REDRESSABLE
        This Court can neither revisit Marbury v. Madison, 5 U.S. 137 (1803), nor Humphrey’s Executor.

But entering default judgment favoring CLC, or otherwise ordering FEC to process CLC’s adminis-

trative complaint against 45Committee, Inc. would require this Court to either ignore Marbury or side-

step Humphrey’s Executor. Given these equally undesirable options, amicus, instead, offers a third: dis-

miss the case without prejudice for want of subject-matter jurisdiction because the case is not justici-

able and CLC’s claimed injury (even assuming CLC can show injury-in-fact) is not redressable by a

federal-court decision favorable to it.

        A.       Federal Courts Cannot Order Executive Officials to Perform Discretionary Acts
        In addition to lacking injury-in-fact, this case is also nonjusticiable because the apparent harm

is not redressable by federal courts. Federal courts cannot constitutionally order an executive agency

to exercise its prosecutorial discretion. That rule is as old as Marbury v. Madison. “[A]n agency’s decision

not to prosecute or enforce, whether through civil or criminal process, is a decision generally commit-

ted to an agency’s absolute discretion.” Heckler v. Chaney, 470 U.S. 821, 831 (1985). Decisions regarding

whether and whom to investigate “are all made outside the supervision of the court.” Young v. United

States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 807 (1987). Making decisions to investigate or prosecute

are a “core executive constitutional function.” United States v. Armstrong, 517 U.S. 456, 465 (1996).


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        In Marbury v. Madison, Chief Justice Marshall, writing for the Court, concluded that federal

courts cannot order executive officials to do discretionary acts; federal courts can only order executive

officials to do ministerial acts. Here, the practical effect of ordering FEC to process CLC’s complaint

against 45Committee, Inc. would be to order FEC to act on a matter that is inherently discretionary.

If that act were ministerial, FECA would not have required four affirmative votes of the commission-

ers to make the reason-to-believe determination.

                It is not by the office of the person to whom the writ is directed, but
                the nature of the thing to be done that the propriety or impropriety of
                issuing a mandamus, is to be determined. Where the head of a depart-
                ment acts in a case, in which executive discretion is to be exercised; in
                which he is the mere organ of executive will; it is again repeated, that
                any application of a court to control, in any respect, his conduct, would
                be rejected without hesitation.

Marbury v. Madison, 5 U.S. at 170–171. An unbroken line of authority since 1803 says that courts can

order executive officials to act “‘only where the duty to be performed is ministerial and the obligation

to act peremptory, and plainly defined. The law must not only authorize the demanded action, but

require it; the duty must be clear and indisputable.’” National Treasury Employees Union v. Nixon, 492

F.2d 587, 602 (D.C. Cir. 1974) (quoting United States ex rel. McLennan v. Wilbur, 283 U.S. 414, 420

(1931)); see also Weeks v. Goltra, 7 F.2d 838, 847 (8th Cir. 1925) (“[T]here [is] a distinction between acts

involving the exercise of judgment or discretion and those which are purely ministerial; that, with

respect to the former, there exists, and can exist, no power to control the executive discretion, however

erroneous its exercise may seem to have been, but, with respect to ministerial duties, an act or refusal

to act is, or may become, the subject of review by the courts.”).

        FECA directs FEC, via § 30109(a)(2), that upon receiving an administrative complaint, such

as CLC’s against 45Committee, Inc., to “determin[e], by an affirmative vote of 4 of its members, that

it has reason to believe that a person has committed, or is about to commit, a violation of this Act or

chapter 95 or chapter 96 of Title 26.” FEC “shall make an investigation of such alleged violation” only

upon receiving four affirmative votes of FEC commissioners. Id. Neither the reason-to-believe deter-

mination nor the investigation that follows is a ministerial act. The obligation to act is inherently not

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peremptory. The statute leaves FEC commissioners and FEC investigators wide room for denial, re-

fusal, discussion, debate. The statute also leaves to FEC’s discretion how much time it will take to

make that determination, if at all. The only portion of § 30109(a)(2) that can be viewed as ministerial

is the requirement that FEC’s “chairman or vice chairman” “shall … notify the [respondent (like

45Committee, Inc.)] of the alleged violation” and the “factual basis for such alleged violation” after

FEC makes the reason-to-believe determination. The rest of that section is patently non-ministerial.

The remedy CLC seeks is, therefore, not redressable.

        From a different perspective, consider also the practical effect of declaring that FEC’s “failure

to act is contrary to law” (§ 30109(a)(8)(C)). If the “act”—deciding by four affirmative votes whether

there is reason to believe that a FECA violation occurred—is discretionary, how can the failure to

perform that act ever be “contrary to law”? The redress CLC seeks does not logically follow. Such

redress would also be unconstitutional.

        The analysis might look different, say, if CLC had brought this case to this Court at one of the

later tiers of FEC’s multi-tiered complaint-adjudication process. If FEC had already determined by

four affirmative votes that there was reason to believe that a FECA violation occurred (§ 30109(a)(2)),

or already determined, after investigating and full briefing, that there was “probable cause to believe”

that a FECA violation occurred (§ 30109(a)(4)(A)(i)), FEC’s failure to act after such determinations

could perhaps be declared “contrary to law” and the Court could perhaps order FEC to “conform”
to such a declaration (§ 30109(a)(8)). The bulk of FECA’s remedial scheme may well pass constitu-

tional muster because the failure to act in those contexts means that FEC has already decided culpa-

bility but has failed to order remedies that FECA provides, such as disclosure of information or mon-

etary penalties (§§ 30109(a)(4), (a)(5)). Another possibility: wrongful investigation or prosecution could

be actionable by respondents like 45Committee, Inc. These several options only show that at an early

stage, as here, where FEC has not even made the reason-to-believe determination, FEC cannot be

constitutionally ordered by a federal court to take that discretionary action in either the complaint-

dismissal or the failure-to-act context—not without disregarding Marbury v. Madison.



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       B.      CLC Cannot Constitutionally Transfer an Independent Agency’s Executive
               Functions to the Federal Courts
       Entering a Rule 55 default judgment against FEC is also problematic because of the usual rule

that upon entry of default, the factual allegations of the complaint, save those concerning monetary

damages, are deemed to have been admitted by the defaulting party. See FRCP 8(b)(6) (“An allega-

tion—other than one relating to the amount of damages—is admitted if a responsive pleading is re-

quired and the allegation is not denied.”); 10A Wright & Miller, Federal Practice & Procedure § 2688.

CLC’s allegation here is that FEC unreasonably delayed deciding whether there is “reason to believe”

that 45Committee, Inc. “has committed, or is about to commit, a violation of” FECA (§ 30109(a)(2)).

See Compl. at ¶ 1. Once the default is established, “the defendant has no further standing to contest

the factual allegations of the plaintiff’s claim for relief.” 10A Wright & Miller, Federal Practice &

Procedure § 2688.1. Entering default means that this Court would have to determine in the first in-

stance whether there is reason to believe a FECA violation factually occurred. Entering default in this

case would transfer to the judiciary FEC’s executive and inherent prosecutorial discretion in deciding

whether there was reason to believe a violation of FECA occurred, and thereby commence an inves-

tigation against 45Committee, Inc.

       CLC filed its administrative complaint against 45Committee, Inc. on August 23, 2018. Compl.

at ¶ 2. In August 2018, FEC was composed of four commissioners—the current three commissioners,

plus Matthew S. Petersen,4 who resigned a full year later, effective August 31, 2019.5 CLC could have
brought this action as early as January of 2019 under the 120-day-inaction rule of § 30109(a)(8)(A) at

a time when FEC had still not lost its quorum. Yet, it admittedly, but without explanation, waited 575

days to file suit—in an election year when FEC lacked a quorum. See Compl. at 2.




4
        See FEC Leadership & Structure, All Commissioners, FEC
https://www.fec.gov/about/leadership-and-structure/commissioners/ (last visited May 20, 2020).
5
        See Letter from Matthew S. Petersen, FEC Commissioner to President Donald J. Trump
(Aug. 26, 2019), available at
https://www.fec.gov/resources/cms-content/documents/Vice Chairman Pe-
tersen LOR 8.26.19.pdf.
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        Even if one were to discount such gamesmanship, CLC’s federal case fares no better. Congress

created a six-member commission, not an odd-numbered one, with full knowledge—or perhaps, ex-

pectation—of deadlock. Congress required that not more than three commissioners may be of the

same political party (§ 30106(a)(1)). It then required four affirmative votes—i.e., bipartisan consen-

sus—for FEC to take the two actions relevant here (the reason-to-believe and defend-federal-suit

determinations). CLC now wishes to undo that carefully and deliberately crafted statutory scheme by

asking a single Article III judge, in effect, to cast the four votes to make the reason-to-believe deter-

mination.

        The standing inquiry, which includes the redressability prong, is “especially rigorous” when

the dispute implicates, as it does here, the Constitution’s separation of powers. Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 408 (2013). The “law of Article III standing … is built on separation-of-powers

principles” and “serves to prevent the judicial process from being used to usurp the powers of the

political branches.” Id.

        Even though CLC waited 575 days to file this federal suit, CLC is apparently now dissatisfied

with FEC’s delay in processing CLC’s complaint against 45Committee, Inc. (caused by FEC’s lack of

a quorum). If that is so, the remedy it seeks does not redress that dissatisfaction.6 Tellingly, CLC does

not seek to, and this Court cannot force, the President and the Senate to fill FEC vacancies. The

decision to fill vacancies or keep them vacant is an inherently political question. In Appointments
Clause cases like Humphrey’s Executor, federal courts have been asked to decide whether the appoint-

ment or removal of an executive official was constitutional; courts have not been asked to remedy a

citizen-observer’s dissatisfaction with either the President’s or the Senate’s keeping executive-branch

vacancies unfilled. In other words, if the federal judiciary could step in and do an independent federal

agency’s job every time a well-intentioned but officious intermeddler like CLC were to so ask, award-

ing such redress would make multi-member independent agencies superfluous (Federal Trade


6
         The delay may have already been remedied due to Mr. Trainor’s confirmation by the Senate
as the fourth FEC commissioner on May 19, 2020. It is unclear whether he has also been sworn into
office. In any event, his swearing in should follow in short order.
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Commission, Securities and Exchange Commission, National Labor Relations Board, etc.). There

would be no need to have an independent agency like FEC to make a reason-to-believe determination

if a federal court could make that executive decision instead. It would be much easier for complainants

like CLC to convince one official instead of four. Although overruling Humphrey’s Executor is not CLC’s

intent, the remedy it seeks from this Court would surely undermine the Constitution’s separation of

powers.

        If, as CLC claims, FEC is unable to follow the law—so far due to the statutory quorum rules,

and henceforth because of voting gridlock that is expected among the four commissioners—then

perhaps the Executive would have the unwavering Article II duty to “take Care that the Laws be

faithfully executed.” U.S. CONST. art. II, § 3. If FEC is getting in the way of the Executive’s take-care

duty, then perhaps the situation is redressable by the political branches. Perhaps CLC could sue the

President, along with, or in place of, suing FEC. Perhaps CLC’s injury could be remedied by Con-

gress—it could change the quorum rules and enact a simple-majority vote of sitting commissioners as

opposed to the current four-vote rule. In any event, the answer cannot be that an Article III officer

must arrogate to herself the job of an Article II officer.

        By creating a six-member commission dealing with federal elections of which not more than

three belong to the same political party, Congress anticipated frequent gridlock. It could not have

contemplated that a single federal judge would stand in the shoes of and do the work of four FEC
commissioners. The relief CLC seeks here defeats how the administrative state, specifically FEC, is

supposed to work. In effect, therefore, this Court’s decision in favor of CLC would be nothing more

than an advisory opinion on an inherently political question.

        At the very least, this discussion shows that entering a default judgment in this case is ill-

advised. Just because FEC could eventually seek FRCP 60 relief from default judgment or take sub-

sequent appeal to the D.C. Circuit and onward if needed does not counsel in favor of granting CLC’s

request for default judgment now.7 The constitutional-avoidance principle would so dictate. “[A]ny

7
       If ever there were a reason to enter default due to FEC’s non-appearance, that reason has now
evaporated. FEC, as of May 19, 2020, has four commissioners. All four may choose to defend this
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doubts as to the propriety of a default are usually resolved against the party seeking a default judg-

ment.” VonGrabe v. Sprint PCS, 312 F. Supp. 2d 1313, 1319 (S.D. Cal. 2004) (citing Pena v. Seguros La

Comercial, S.A., 770 F.2d 811, 814 (9th Cir. 1985)).

        The statutory remedy given in § 30109(a)(8)(C) and requested by CLC here is simply not one

this Court can constitutionally award. In place of entering a Rule 55 default judgment, the Court

should render a Rule 54 judgment dismissing the case without prejudice because the plaintiff has not

shown injury-in-fact, nor that its claimed injury is redressable by federal courts. A Rule 55 default is

currently not appealable by anyone. FEC is unable to defend itself and take such an appeal until the

now four-member FEC takes a vote on that question and all four commissioners vote affirmatively.

The real-party-in-interest (45Committee, Inc.) is not a named defendant and cannot appeal at present.

CLC, because a default judgment would be in its favor, is not an aggrieved party for purposes of taking

an appeal. But CLC could immediately appeal a Rule 54 judgment against CLC. The D.C. Circuit and

the Supreme Court, if needed, would then be well-positioned to weigh in on these weighty constitu-

tional issues.

                                           CONCLUSION

        This case is of utmost importance because the Court is asked to decide whether it is constitu-

tionally permissible to transfer, at the request of private parties, executive power and prosecutorial

discretion to the federal courts. The Court should not enter a FRCP 55 default judgment against FEC.
Instead, it should dismiss the case without prejudice because the plaintiff lacks standing, and its

claimed injury is and will remain not redressable.

        Respectfully submitted, on May 22nd, 2020.

                                        /s/ Kara Rollins
                                        Kara Rollins (D.C. Bar No. 1046799)
                                        Jessica Thompson (D.C. Bar No. 1542170)
                                        New Civil Liberties Alliance
                                        1225 19th St. NW, Suite 450
                                        Washington, DC 20036


suit, but amicus would still recommend dismissal because the injury-in-fact and redressability analysis
presented in this brief would not change.
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                      (202) 869-5210
                      Kara.Rollins@NCLA.legal
                      Jessica.Thompson@NCLA.legal

                      Attorneys for Amicus Curiae




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                                 CERTIFICATE OF COMPLIANCE

           I hereby certify that the filing complies with the Local Civil Rules relating to formatting and

page limits, being double-spaced and prepared in 12-point proportionally-spaced font including in the

footnotes pursuant to L. Civ. R 5.1(d), and not exceeding the allotted 25-page limit of L. Civ. R.

7(o)(4).

                                          /s/ Kara Rollins
                                          Kara Rollins
                                          Jessica Thompson




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2020, I electronically transmitted the attached document to

the Clerk’s Office using the CM/ECF System for filing and distribution to all registered participants

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                                       /s/ Kara Rollina
                                       Kara Rollins
                                       Jessica Thompson




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